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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                    DECISION AND ORDER
                                                                   10-CR-184-18S
DANIEL WHITE,

                             Defendant.




          1.    On January 29, 2013, the Defendant entered into a written plea agreement

(Docket No. 574) and pled guilty to Count 1 of the Third Superseding Indictment (Docket

No. 202) charging a violation of Title 21 U.S.C. § 846, (conspiracy to possess with intent

to distribute and to distribute cocaine).

          2.    On January 29, 2013, the Honorable Leslie G. Foschio, United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 576)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.    This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

          4. This Court has carefully reviewed de novo Judge Foschio’s January 29, 2013,

Report and Recommendation, the plea agreement, the Third Superseding Indictment, and

the applicable law. Upon due consideration, this Court finds no legal or factual error in

Judge Foschio’s Report and Recommendation, and will accept Judge Foschio’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s January 29,

2013, Report and Recommendation (Docket No. 576)            in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Daniel White, is accepted, and he

is now adjudged guilty of Title 21 U.S.C. § 846.

      SO ORDERED.


Dated: February 22, 2013
       Buffalo, New York


                                                       s/William M. Skretny
                                                    WILLIAM M. SKRETNY
                                                           Chief Judge
                                                   United States District Court




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